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                    UPFRONT TAVERN & GRILL, INC., Plaintiff, v. CITY OF CHICAGO,
                                         Defendant.

                                                Case No. 94 C 3061

                UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
                                 ILLINOIS, EASTERN DIVISION

                                            1994 U.S. Dist. LEXIS 6780


                                             May 19, 1994, Decided
                                             May 24, 1994, Docketed

                                                           separate orders entered in October and December 1993,
JUDGES: [*1] Williams                                      the City revoked all of plaintiff's liquor and business
                                                           licenses. (Def. Ex. A, B). In its May 17, 1994 complaint,
OPINION BY: ANN CLAIRE WILLIAMS                            plaintiff alleges that on May 2, 1994, Upfront Tavern
                                                           (operating under the name Options Unlimited) altered its
OPINION                                                    format and recommenced operations [*2] pursuant to a
                                                           valid cabaret amusement public place - Class III license
                                                           issued by the City. (Complaint at 3). On May 9, 1994, the
MEMORANDUM OPINION AND ORDER                               City closed the Upfront Tavern citing plaintiff's failure to
                                                           obtain all of the required licenses to operate its business.
    Plaintiff Upfront Tavern & Grill, Inc. ("Upfront
                                                           (Complaint at 3-5; Mo. to Dismiss at 2).
Tavern") brings this action against the City of Chicago
("City") seeking to enjoin the City from restricting its        Plaintiff filed the instant suit on May 17, 1994.
operation of a Chicago tavern featuring live, nude         Alleging that the City has established a de facto policy to
entertainment. Upfront Tavern alleges that the City's      impermissibly restrict or eliminate activity protected by
enforcement of its licensing and zoning laws is            the First Amendment, plaintiff seeks a court order
unconstitutional. (Complaint at 7-9). This case is         enjoining the City from "preventing Plaintiff's
presently before the court on plaintiff's Motion for a     presentation of protected nude expressive dancing to its
Temporary Restraining Order and defendant's Motion to      willing adult customers." (Complaint at 9). Plaintiff also
Dismiss on abstention grounds. For the reasons stated      seeks a declaratory judgment "establishing that
below, the defendant's Motion to Dismiss this case is      Defendant's policy of arbitrarily restricting or eliminating
granted. Plaintiff's Motion for a Temporary Restraining    protected nude expressive dancing is unconstitutional."
Order is stricken as moot.                                 (Id.). On May 18, 1994, plaintiff filed the emergency
                                                           motion for a temporary restraining order presently
Background
                                                           pending before the court.
     Plaintiff Upfront Tavern operated a bar featuring
                                                                On May 18, 1994, one day after plaintiff filed the
live, nude entertainment in the downtown area of
                                                           instant suit, defendant City filed suit against Upfront
Chicago from June 1992 to December 1993. In two
                                                           Tavern in the Circuit Court of Cook County, alleging that
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Upfront opened for business in May 1994 in violation of         court, the court should look to two factors in deciding
[*3] City licensing and zoning laws. (Def. Ex. C). That         whether abstention is appropriate. First, the court must
same day, defendant filed an Emergency Motion to                determine whether the federal plaintiff will have an
Dismiss plaintiff's federal suit. In its Motion to Dismiss,     adequate opportunity to raise its constitutional challenges
defendant argues that this court should abstain from            in the state proceeding. Mannheim Video, 884 F.2d at
hearing plaintiff's case.                                       1045 (citing Middlesex County Ethics Committee v.
                                                                Garden State Bar Ass'n, 457 U.S. 423, 73 L. Ed. 2d 116,
Discussion                                                      102 S. Ct. 2515 (1982)). Second, the court must consider
                                                                the progress of the federal action. "The federal action
     In Younger v. Harris, 401 U.S. 37, 43-44, 27 L. Ed.        should [*5] be dismissed in favor of the state action if
2d 669, 91 S. Ct. 746 (1971), the Supreme Court held that       there have been no 'proceedings on the merits . . . in the
principles of equity, comity and federalism require a           federal court.'" Mannheim Video, 884 F.2d at 1045
federal court to abstain from hearing a federal action          (quoting Hicks v. Miranda, 422 U.S. 332, 45 L. Ed. 2d
challenging the constitutionality of a state criminal statute   223, 95 S. Ct. 2281 (1975)).
while the state is prosecuting the federal plaintiff in state
court under that same statute. The Court has since                   Here, neither party contends that plaintiff will be
extended what is now generally referred to as the               unable to raise his constitutional challenge to the City's
Younger abstention doctrine to civil suits that are             enforcement of its zoning and licensing laws in state
criminal in nature. See Huffman v. Pursue, Ltd., 420 U.S.       court. Nor have there been any proceedings on the merits
592, 43 L. Ed. 2d 482, 95 S. Ct. 1200 (1975); Trainor v.        of this case. Abstention under Younger is, therefore, not
Hernandez, 431 U.S. 434, 52 L. Ed. 2d 486, 97 S. Ct.            only appropriate but required.
1911 (1977). On numerous occasions, courts within this
circuit have applied the Younger [*4] abstention doctrine           Accordingly, the court grants defendant's motion to
to suits like this one involving constitutional challenges      dismiss on abstention grounds. Plaintiff's Motion for a
to local zoning and licensing ordinances restricting the        Temporary Restraining Order is stricken as moot.
operation of businesses engaged in adult materials and
entertainment. See, e.g., Mannheim Video, Inc. v. County            ENTER:
of Cook, 884 F.2d 1043 (7th Cir. 1989); Ciotti v. County
                                                                    Ann Claire Williams, Judge
of Cook, 712 F.2d 312 (7th Cir. 1983); American Nat.
Bank v. Parkman, 702 F. Supp. 168 (N.D. Ill. 1988).                 United States District Court
    Where the commencement of the state court                       Dated: MAY 19 1994
proceeding follows the filing of plaintiff's suit in federal
